         Case 23-90147 Document 1930 Filed in TXSB on 02/05/24 Page 1 of 5




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                     Chapter 7
In re:

MOUNTAIN EXPRESS OIL COMPANY, et                     Case No. 23-90147 (EVR)
al.,
                    Debtors.                         (Jointly Administered)

                   AMENDED NOTICE OF RULE 2004 EXAMINATION

To:

Oak Street Real Estate Capital, LLC n/k/a Blue Owl Real Estate Capital, LLC

-and-

Jared Sheiker
c/o Benjamin T. Kurtz, Esq.
Kirkland & Ellis LLP
300 N. LaSalle
Chicago, IL 60654

         NOTICE IS HEREBY GIVEN that Janet Northrup, as Chapter 7 Trustee of the above-

captioned debtors (the “Debtors”), by and through her undersigned counsel, intends to conduct an

examination of Jared Sheiker (“Sheiker”), individually and as the corporate representative of Oak

Street Real Estate Capital, LLC n/k/a Blue Owl Real Estate Capital, LLC (“Oak”), under Federal

Rules of Bankruptcy Procedure 2004, 7030 and 7034 and Bankruptcy Local Rule 2004-1 on

February 14, 2024 beginning at 9:00 a.m. (Central Time) (or at such other time as may be agreed

to by the parties) at the offices of Kirkland & Ellis LLP, 300 N. LaSalle, Chicago, Illinois 60654.

The examination will be taken pursuant to an agreement between the parties and will be taken

before an authorized court reporter or other person authorized by law to administer oaths and will

be recorded by stenographic and videographic means. The examination of Oak will cover the

topics set forth in Schedule A hereto.
Case 23-90147 Document 1930 Filed in TXSB on 02/05/24 Page 2 of 5




Dated this 5th day of February, 2024.

                                        GREENBERG TRAURIG, LLP

                                        By: /s/ John D. Elrod
                                        Shari L. Heyen
                                        Texas Bar No. 09564750
                                        Shari.Heyen@gtlaw.com
                                        1000 Louisiana St., Suite 1700
                                        Houston, Texas 77002
                                        Telephone:     (713) 374-3564
                                        Facsimile:     (713) 374-3505
                                        – and –
                                        John D. Elrod (admitted pro hac vice)
                                        ElrodJ@gtlaw.com
                                        Terminus 200, Suite 2500
                                        3333 Piedmont Road, NE
                                        Atlanta, Georgia 30305
                                        Telephone:    (678) 553-2259
                                        Facsimile:    (678) 553-2269

                                        SPECIAL LITIGATION COUNSEL FOR JANET
                                        NORTHRUP, CHAPTER 7 TRUSTEE
        Case 23-90147 Document 1930 Filed in TXSB on 02/05/24 Page 3 of 5




                                          SCHEDULE A

                                     DEPOSITION TOPICS

                                          DEFINITIONS

        The definitions and rules of construction set forth in Rule 7026 of the Federal Rules of

Bankruptcy Procedure are incorporated by reference as if set forth fully herein.

        (a)    “Bankruptcy Cases” means the above-captioned bankruptcy cases of the Debtors.

        (b)    “Including” means including but not limited to.

        (c)    “Mountain Express” or “Debtors” means Mountain Express Oil Company, et al.,

any subsidiaries or affiliates thereof, any and all predecessors or successors in interest thereof, and

any of its officers, directors, employees, consultants, agents, representatives, executives, partners,

investigators, consultants, contractors, advisors, accountants and attorneys.

        (d)    “Oak” means Oak Street Real Estate Capital, LLC n/k/a Blue Owl Real Estate

Capital, LLC and their affiliates.

        (e)    “Relating to,” “regarding,” “referring to,” or “pertaining to” shall mean directly or

indirectly mentioning or describing, or being connected with, or reflecting upon a stated subject

matter, document, event, entity or person.

        (f)    The terms “you” and “your” shall mean or refer to Jared Sheiker and shall include

any and all representatives, employees, attorneys, agents, investigators and all other persons

presently or formerly acting or purporting to act on your behalf.

                                              TOPICS

   1.    The relationship between Oak and the Debtors.

   2.    The negotiation and performance of the Oak Program Agreement dated June 30, 2021

         by and between Oak and the Debtors.
     Case 23-90147 Document 1930 Filed in TXSB on 02/05/24 Page 4 of 5




3.    The sale leaseback transactions between Oak and the Debtors.

4.    All underwriting and approvals of the sale leaseback transactions.

5.    All alleged defaults under leases between Oak and the Debtors.

6.    The performance by both sides under the leases between Oak and MEX.

7.    Sheiker’s service as a director of MEX.
       Case 23-90147 Document 1930 Filed in TXSB on 02/05/24 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of February, 2024, a true and correct copy of the

foregoing Amended Notice of Rule 2004 Examination was served by electronic transmission upon

(i) all parties eligible to receive service through this Court’s CM/ECF system and (ii) the following:

       Jared Sheiker
       c/o Benjamin T. Kurtz, Esq.
       Kirkland & Ellis LLP
       300 N. LaSalle
       Chicago, IL 60654
                                               GREENBERG TRAURIG, LLP

                                               By: /s/ John D. Elrod
                                               John D. Elrod
                                               ElrodJ@gtlaw.com
                                               Terminus 200, Suite 2500
                                               3333 Piedmont Road, NE
                                               Atlanta, Georgia 30305
                                               Telephone:     (678) 553-2259
                                               Facsimile:     (678) 553-2269

                                               SPECIAL LITIGATION COUNSEL FOR JANET
                                               NORTHRUP, CHAPTER 7 TRUSTEE
